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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (___)
                                                                     )
                                       Debtors.                      ) (Joint Administration Requested)
                                                                     )

              DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
        ORDERS (I) AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL,
      (II) GRANTING ADEQUATE PROTECTION TO THE PREPETITION SECURED
         PARTIES, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
              A FINAL HEARING, AND (V) GRANTING RELATED RELIEF


             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):

                                                  Relief Requested

             1.    The Debtors seek entry of an interim order (the “Interim Order”), substantially in

the form attached hereto, and a final order (the “Final Order”), inter alia: (a) authorizing the

Debtors’ use of Cash Collateral (as defined below); (b) granting adequate protection to the

Prepetition Secured Parties (as defined below) for any diminution in value of their interests in the

Prepetition Collateral (as defined below), including Cash Collateral; and (c) vacating and

modifying the automatic stay solely to the extent necessary to implement and effectuate the terms

and provisions of the Interim Order.




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
      AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
      (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
      LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
      of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.



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         2.     In addition, the Debtors request that the Court schedule a final hearing within

approximately 35 days of the commencement of these chapter 11 cases to consider approval of

this Motion on a final basis.

                                       Jurisdiction and Venue

         3.     The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

         4.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.     The bases for the relief requested herein are sections 105, 361, 362, 363, 503, 506,

507 and 552 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

Bankruptcy Rules 4001 and 9014, and Bankruptcy Local Rules 4401-2 and 9013.1(m).

                                             Background

         6.     The Debtors operate 169 locations, including 92 furniture and mattress showrooms

and 77 freestanding mattress and specialty locations. The Debtors do business under brand names,

including Art Van Furniture, Pure Sleep, Scott Shuptrine Interiors, Levin Furniture, Levin

Mattress, and Wolf Furniture. The Debtors were founded in 1959 and was owned by its founder,

Art Van Elslander, until it was sold to funds affiliated with Thomas H. Lee Partners, L.P. (“THL”)

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in March 2017. Pennsylvania based Levin Furniture and Wolf Furniture were acquired by Art Van

in November 2017. As of the Petition Date (as defined below), the Debtors operate stores

throughout Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, and Virginia.

The Debtors are headquartered in Warren, Michigan and have approximately 4,500 employees as

of the Petition Date (as defined below).

         7.    On March 8, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. A detailed description surrounding

the facts and circumstances of these chapter 11 cases is set forth in the Declaration of David Ladd,

Executive Vice President and Chief Financial Offer of Art Van Furniture, LLC, in Support of

Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

contemporaneously with this Motion and incorporated by reference herein. Concurrently with the

filing of this Motion, the Debtors filed a motion requesting procedural consolidation and joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are

operating their business and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in these chapter 11 cases and no official committees have been

appointed or designated.

                    Statement of the Material Terms of the Interim Order

         8.    Pursuant to Bankruptcy Rule 4001(b), (c) and (d) and Bankruptcy Local Rule 4001-

2(a)(i) and (ii), the following is a concise statement and summary of the material terms of the

Interim Order (collectively, the “Highlighted Provisions”):




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      Material Terms                          Summary of Material Terms                                Para(s). of
                                                                                                       Interim
                                                                                                        Order
    Entities with an           The Prepetition ABL Parties2 and the Prepetition Term                   ¶¶ F & H
    Interest in Cash           Loan Parties3 (collectively, the “Prepetition Secured
    Collateral                 Parties”)

    Bankruptcy Rule
    400l(b)(1)(B)(i)

    Purposed Use of             The Debtors seek authority to use Cash Collateral to:                     ¶2
    Cash Collateral                                                                                    (i) F
                                (i) finance their working capital needs and for any other
    Bankruptcy Rule             general corporate purposes; and (ii) pay related
    400l(b)(1)(B)(ii)           transaction costs, fees, liabilities and expenses
                                (including all professional fees and expenses) and other
    Local Rule 4001-            administration costs incurred in connection with and for
    2(a)(ii)                    the benefit of these chapter 11 cases, in each case solely
                                to the extent consistent with the Budget (as defined
                                below) and the Interim Order.

    Budget and                 Budget: The use of Cash Collateral for the first                           ¶ 11
    Variance                   thirteen-week period from the Petition Date shall be in
    Reporting                  accordance with the budget (the “Budget”), which
                               Budget shall be updated, modified, or supplemented by
    Bankruptcy Rule            the Debtors not less than one time in each four-week
    400l(b)(1)(B)(ii)          period.

    Local Rule 4001-           Budget Compliance: The Debtors shall not, without                        ¶ 12(a)
    2(a)(ii)                   the consent of the Prepetition Agents, permit (i) the
                               actual Total Cash Receipts (as defined in the Interim
                               Order) for any rolling four-week period to be less than
                               90% of the Total Cash Receipts set forth in the Budget
                               for such period, (ii) the actual GOB Disbursements (as
                               defined in the Interim Order) for any rolling four-week
                               period to exceed 110% of the aggregate GOB
                               Disbursements set forth in the Budget for such period,
                               (iii) the actual Operating Disbursements (as defined in
                               the Interim Order) for any rolling four-week period to
                               exceed 110% of the aggregate Operating
2
 The “Prepetition ABL Parties” are Wells Fargo Bank, National Association, as administrative agent, issue bank, and
collateral agent (in such capacity, the “Prepetition ABL Agent”) and the lenders party to the Prepetition ABL
Agreement (as defined in the Interim Order).

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  The “Prepetition Term Loan Parties” are Virtus Group, LP, as administrative agent and collateral agent and the
lenders party to the Prepetition Term Loan Agreement (as defined in the Interim Order).


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      Material Terms                Summary of Material Terms                       Para(s). of
                                                                                    Interim
                                                                                     Order
                        Disbursements set forth in the Budget for such period,
                        or (iv) the actual Non-Operating Disbursements (as
                        defined in the Interim Order) for any rolling four week
                        period to exceed 110% of the aggregate Non-Operating
                        Disbursements set forth in the Budget for such period
                        (with any unspent amounts in the subparagraph (iv)
                        being carried forward for subsequent periods).

   Duration of Use of   Specified Period: The Debtors are authorized to use            ¶2
   Cash Collateral/     Cash Collateral for the period from the Petition Date
   Events of Default/   through the date which is the earliest to occur of: (a)
   Rights and           the Termination Date (as defined in the Interim Order),
   Remedies Upon        (b) thirty (30) days after the Petition Date, and (c)
   Event of Default     entry of the Final Order; provided, however, that,
                        during the Remedies Notice Period (as defined in the
                        Interim Order) the Debtors may use Cash Collateral for
                        certain specified purposes.

                        Events of Default: The occurrence of any of the               ¶ 20
                        following events, unless consented to or waived by the
                        Prepetition Agents in advance in writing, each in their
                        sole and absolute discretion, shall constitute an event
                        of default (collectively, the “Events of Default”):

                        (a)   the failure of the Debtors to perform, in any
                              respect, any of the terms, provisions, conditions,
                              covenants, or obligations under the Interim
                              Order (including, without limitation, the
                              Covenants in paragraph 12 of the Interim
                              Order);

                        (b)   the failure of the Debtors to obtain a Final Order
                              on the Motion on terms acceptable to the
                              Prepetition Agents on or before 30 days after the
                              Petition Date;

                        (c)   (i) the failure by the Debtors to continue sales of
                              the Assets in accordance with the Consulting
                              Agreement and to assume the Consulting
                              Agreement on a timely basis;

                        (d)   the filing of a motion or any plan of
                              reorganization or disclosure statement attendant

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      Material Terms               Summary of Material Terms                       Para(s). of
                                                                                   Interim
                                                                                    Order
                             thereto by and of the Debtors: (i) to obtain
                             additional financing under section 364(d) of the
                             Bankruptcy Code not otherwise permitted
                             pursuant to the Interim Order; (ii) to grant any
                             lien other than Permitted Prior Liens (as defined
                             in the Interim Order) upon or affecting any
                             Postpetition Collateral(as defined in the Interim
                             Order); or (iii) except as provided in the Interim
                             Order, to use Cash Collateral under section
                             363(c) of the Bankruptcy Code;

                       (e)   (i) the filing of any Prohibited Plan (as defined
                             in the Interim Order) or disclosure statement
                             attendant thereto, or any direct or indirect
                             amendment to such chapter 11 plan or disclosure
                             statement, by a Debtor, (ii) the entry or request
                             for entry of any order terminating any Debtor’s
                             exclusive right to file a chapter 11 plan (unless
                             actively contested by the Debtors), or (iii) the
                             expiration of any Debtor’s exclusive right to file
                             a chapter 11 plan;

                       (f)   the entry of an order in any of the cases
                             confirming a Prohibited Plan;

                       (g)   the entry of an order amending, supplementing,
                             staying, vacating or otherwise modifying the
                             Interim Order or the Cash Management Order,
                             the filing by a Debtor of a motion for
                             reconsideration with respect to the Interim Order
                             or the Cash Management Order, or the Interim
                             Order shall cease to be in full force and effect;

                       (h)   the payment of, or application by the Debtors for
                             authority to pay, any prepetition claim unless in
                             accordance with the Budget, subject to variances
                             permitted by the Interim Order;

                       (i)   the appointment of an interim or permanent
                             trustee in the cases, the appointment of a
                             receiver, receiver and manager, interim receiver
                             or similar official over any substantial portion of
                             the assets of the Debtors, or the appointment of a


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      Material Terms                     Summary of Material Terms                      Para(s). of
                                                                                        Interim
                                                                                         Order
                                   trustee receiver or an examiner in the cases with
                                   expanded powers to operate or manage the
                                   financial affairs, the business, or reorganization
                                   of the Debtors;

                             (j)   the filing of a motion to approve a Prohibited
                                   Sale (as defined in the Interim Order) or to sell
                                   all or substantially all of the Debtors’ assets
                                   other than in accordance with the Consulting
                                   Agreement or the Levin LOI (as those terms are
                                   defined in the Interim Order);
                       the
                             (k)   the dismissal of any case, or the conversion of
                                   any case from one under Chapter 11 to one
                                   under Chapter 7 of the Bankruptcy Code or any
                                   Debtor filing a motion or other pleading seeking
                                   the dismissal of the cases under section 1112 of
                                   the Bankruptcy Code or otherwise or the
                                   conversion of the cases to Chapter 7 of the
                                   Bankruptcy Code;

                             (l)   the filing of a motion seeking, or the Court shall
                                   enter an order granting, relief from or modifying
                                   the automatic stay of section 362 of the
                                   Bankruptcy Code (i) to allow any creditor (other
                                   than the Prepetition ABL Agent and, subject to
                                   the Intercreditor Agreement (as defined in the
                                   Interim Order), the Prepetition Term Loan
                                   Agent) to execute upon or enforce a lien on any
                                   Postpetition Collateral or Prepetition Collateral,
                                   (ii) approving any settlement or other stipulation
                                   with any secured creditor of any Debtor
                                   providing for payments as adequate protection
                                   or otherwise to such secured creditor, or (iii)
                                   with respect to any lien on or the granting of any
                                   lien on any Postpetition Collateral or the
                                   Prepetition Collateral to any federal, state or
                                   local environmental or regulatory agency or
                                   authority, which in either case involves a claim
                                   of [$250,000] or more;

                             (m)   the existence of any claim or charges, or the
                                   entry of any order of the Court authorizing any


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      Material Terms                   Summary of Material Terms                       Para(s). of
                                                                                       Interim
                                                                                        Order
                                 claims or charges entitled to superpriority
                                 administrative expense claim status in any Case
                                 pursuant to section 364(c)(1) of the Bankruptcy
                                 Code pari passu with or senior to the claims of
                                 the Prepetition Secured Parties under the Interim
                                 Order, or there shall arise or be granted by the
                                 Court (i) any claim having priority over any or
                                 all administrative expenses of the kind specified
                                 in clause (b) of section 503 or clause (b) of
                                 section 507 of the Bankruptcy Code or (ii) any
                                 lien on the Postpetition Collateral or the
                                 Prepetition Collateral having a priority senior to
                                 or pari passu with the liens and security interests
                                 granted in the Interim Order, except, in each
                                 case, as expressly provided in the Interim Order;

                           (n)   the filing of a motion or entry of an order
                                 materially adversely impacting the rights and
                                 interests of the Prepetition Secured Parties shall
                                 have been entered by the Court or any other
                                 court of competent jurisdiction;

                           (o)   any Debtor shall challenge, support or encourage
                                 a challenge of any payments made to any
                                 Prepetition ABL Party with respect to the
                                 Prepetition ABL Obligations;

                           (p)   any Debtor shall challenge, support or encourage
                                 the challenge of any payments made to any
                                 Prepetition Term Loan Party with respect to the
                                 Prepetition Term Loan Obligations;
                       A
                           (q)   the entry of any order by the Court granting, or
                                 the filing by any Debtor of any motion or other
                                 request with the Court seeking authority to use
                                 cash proceeds of any of the Postpetition
                                 Collateral or Prepetition Collateral other than as
                                 set forth in the Interim Order or to obtain any
                                 financing under section 364(d) of the
                                 Bankruptcy Code;

                           (r)   any Debtor or any person on behalf of any
                                 Debtor shall file any motion seeking authority to


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      Material Terms                Summary of Material Terms                      Para(s). of
                                                                                   Interim
                                                                                    Order
                              consummate a sale of assets, other than in
                              connection with the Consulting Agreement or
                              the Levin APA (as defined in the Interim Order),
                              with respect to Postpetition Collateral or
                              Prepetition Collateral having a value in excess of
                              [$250,000] outside the ordinary course of
                              business and not otherwise permitted under the
                              Interim Order;

                        (s)   any Debtor shall make any payment (whether by
                              way of adequate protection or otherwise) of
                              principal or interest or otherwise provide any
                              credit on account of any prepetition
                              indebtedness or payables other than payments (i)
                              under customary “first day orders as approved
                              by the Prepetition Agents in writing (provided
                              that the Interim Order and all orders relating to
                              cash management shall be acceptable to the
                              Prepetition Agents) and (ii) payments approved
                              (A) by the Court or (B) by the Prepetition
                              Agents in writing, in each case in accordance
                              with the Budget, subject to variances permitted
                              by the Interim Order;

                        (t)   any Debtor shall fail to contest in good faith a
                              request to take any action that if taken by the
                              Debtor would constitute an event of default
                              under paragraph 20 of the Interim Order;

                        (u)   the automatic stay shall be modified, reversed,
                              revoked or vacated in a manner that has a
                              material adverse impact on the rights and
                              interests of the Prepetition Agents or the
                              Prepetition Secured Parties.

                       Rights and Remedies Upon Entry of Default:                    ¶ 21
                       Immediately upon the occurrence and during the
                       continuation of an Event of Default, without any
                       application, motion, or notice to, hearing before, or
                       order from the Court, but subject to the terms of the
                       Interim Order (and the Remedies Notice Period), (a) (i)
                       the Prepetition ABL Agent may declare (any such
                       declaration delivered by the Prepetition ABL Agent or


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      Material Terms                Summary of Material Terms                       Para(s). of
                                                                                    Interim
                                                                                     Order
                       the Prepetition Term Loan Agent, as applicable, shall be
                       referred to as a “Termination Declaration”) (A) all
                       Prepetition ABL Obligations owing under the
                       Prepetition ABL Documents to be immediately due and
                       payable, and (B) that the application of the Carve Out
                       (as defined in the Interim Order) has occurred through
                       the delivery of the Carve Out Trigger Notice (as defined
                       in the Interim Order); and (ii) the Prepetition ABL
                       Agent may declare a termination, reduction, or
                       restriction on the ability of the Debtors to use Cash
                       Collateral, and (b) the Prepetition Term Loan Agent
                       may (i) declare a termination, reduction, or restrict on
                       the ability of the Debtors to use Cash Collateral that is
                       Postpetition Term Priority Collateral and (ii) after the
                       Prepetition ABL Obligations have been Paid in Full,
                       declare a termination, reduction, or restriction on the
                       ability of the Debtors to use Cash Collateral (the date a
                       Termination Declaration is delivered shall be referred to
                       as the “Termination Date”). The Termination
                       Declaration shall be given by electronic mail (or other
                       electronic means) to counsel to the Debtors, counsel to a
                       Committee (if appointed), the Prepetition ABL Agent
                       (if delivered by the Prepetition Term Loan Agent), the
                       Prepetition Term Loan Agent (if delivered by the
                       Prepetition ABL Agent), and the U.S. Trustee. The
                       automatic stay in the Cases otherwise applicable to the
                       Prepetition ABL Parties is hereby modified so that five
                       (5) business days after the date a Termination
                       Declaration is delivered (the “Remedies Notice
                       Period”), the Prepetition ABL Parties shall be entitled to
                       exercise their rights and remedies in accordance with
                       the Prepetition ABL Documents and the Interim Order
                       to satisfy the Prepetition ABL Obligations, Prepetition
                       ABL Superpriority Claims, and Prepetition ABL
                       Adequate Protection Liens, subject to the Carve Out (to
                       the extent applicable). During the Remedies Notice
                       Period, the Debtors and/or a Committee (if appointed)
                       shall be entitled to seek an emergency hearing within
                       the Remedies Notice Period with the Court. Upon
                       expiration of the Remedies Notice Period, unless the
                       Court orders otherwise, the automatic stay, as to the
                       Prepetition ABL Parties, shall automatically be
                       terminated without further notice or order and the


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      Material Terms                  Summary of Material Terms                        Para(s). of
                                                                                       Interim
                                                                                        Order
                        Prepetition ABL Parties shall be permitted to exercise
                        all remedies set forth in the Interim Order, in the
                        Prepetition Documents, and as otherwise available at
                        law without further order of or application or motion to
                        the Court consistent with the Intercreditor Agreement
                        and the Interim Order. Upon the occurrence and during
                        the continuation of an Event of Default, in each case,
                        subject to the Intercreditor Agreement, the Prepetition
                        ABL Agent and any liquidator or other professional will
                        have the right to access and utilize, at no cost or
                        expense, any trade names, trademarks, copyrights or
                        other intellectual property and any warehouse,
                        distribution centers, store or other locations to the extent
                        necessary or appropriate in order to sell, lease or
                        otherwise dispose of any of the Postpetition ABL
                        Priority Collateral, including pursuant to any Court
                        approved sale process.

   Proposed              The Prepetition Secured Parties shall be granted, to the      ¶¶ 3, 5, 7-8
   Adequate              extent of any diminution in value of its interests in the
   Protection            Prepetition Collateral from and after the Petition Date,
                         the following:
   Bankruptcy Rule
   400l(b)(1)(B)(iv)     Adequate Protection Liens.
                         (a) Prepetition ABL Adequate Protection Liens.                 ¶ 3(a)-(b)

   Local Rule 4001-           Subject to the Carve Out, pursuant to sections
   2(a)(ii)                   361 and 363(e) of the Bankruptcy Code, as
                              adequate protection of the interests of the
                              Prepetition ABL Parties in the Prepetition
                              Collateral to the extent of any Diminution in
                              Value of such interests in the Prepetition
                              Collateral, the Debtors grant to the Prepetition
                              ABL Agent, for the benefit of itself and the
                              Prepetition ABL Parties, continuing, valid,
                              binding, enforceable, and perfected postpetition
                              security interests in and liens (the “Prepetition
                              ABL Adequate Protection Liens”) on any
                              Postpetition Collateral.

                         (b)    Prepetition Term Loan Adequate Protection
                                Liens. Subject to the Carve Out, pursuant to
                                sections 361 and 363(e) of the Bankruptcy Code,
                                as adequate protection of the interests of the

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      Material Terms               Summary of Material Terms                       Para(s). of
                                                                                   Interim
                                                                                    Order
                             Prepetition Term Loan Parties in the Prepetition
                             Collateral to the extent of any Diminution in
                             Value of such interests in the Prepetition
                             Collateral, the Debtors grant to the Prepetition
                             Term Loan Agent, for the benefit of itself and
                             the Prepetition Term Loan Parties, continuing,
                             valid, binding, enforceable, and perfected
                             postpetition security interests in and liens (the
                             “Prepetition Term Loan Adequate Protection
                             Liens,” and together with the Prepetition ABL
                             Adequate Protection Liens, the “Adequate
                             Protection Liens”) on the Postpetition Collateral.

                       Adequate Protection Superpriority Claims.                   ¶ 5(a)-(b)
                       (a) Prepetition ABL Superpriority Claim. As further
                            adequate protection of the interests of the
                            Prepetition ABL Parties in the Prepetition
                            Collateral to the extent of any Diminution in
                            Value of such interests in the Prepetition
                            Collateral, the Prepetition ABL Agent, on behalf
                            of itself and the Prepetition ABL Parties, is
                            granted as and to the extent provided by section
                            507(b) of the Bankruptcy Code, an allowed
                            superpriority administrative expense claim in
                            each of the Cases and any Successor Cases (the
                            “Prepetition ABL Superpriority Claim”).

                       (b)   Prepetition Term Loan Superpriority Claim. As
                             further adequate protection of the interests of the
                             Prepetition Term Loan Parties in the Prepetition
                             Collateral to the extent of any Diminution in
                             Value of such interests in the Prepetition
                             Collateral, the Prepetition Term Loan Agent, on
                             behalf of itself and the Prepetition Term Loan
                             Parties, is granted as and to the extent provided
                             by section 507(b) of the Bankruptcy Code, an
                             allowed superpriority administrative expense
                             claim in each of the Cases and any Successor
                             Cases (the “Prepetition Term Loan Superpriority
                             Claim,” and together with the Prepetition ABL
                             Superpriority Claim, the “Adequate Protection
                             Superpriority Claims”).



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      Material Terms               Summary of Material Terms                        Para(s). of
                                                                                    Interim
                                                                                     Order
                       Adequate Protection Payments and Protections for             ¶7
                       Prepetition ABL Parties. As further adequate
                       protection, the Debtors are authorized and directed to
                       pay in cash the following: (a) all principal and interest
                       at the default rate due under the Prepetition ABL
                       Documents (but subject to the Challenge rights to the
                       extent preserved in paragraph 27 of the Interim Order),
                       (b) immediately upon entry of the Interim Order, the
                       reasonable and documented fees, out-of-pocket fees
                       and expenses, and disbursements (including the
                       reasonable and documented fees, out-of-pocket fees
                       and expenses, and disbursements of counsel, financial
                       advisors, auditors, third-party consultants, and other
                       vendors) incurred by the Prepetition ABL Agent
                       arising prior to the Petition Date and reimbursable
                       under the Prepetition ABL Documents, (c) om
                       accordance with paragraph 22 of the Interim Order, the
                       reasonable and documented fees, out-of-pocket fees
                       and expenses, and disbursements (including the
                       reasonable and documented fees, out-of-pocket fees
                       and expenses, and disbursements of counsel, financial
                       advisors, auditors, third-party consultants, and other
                       vendors) incurred by the Prepetition ABL Agent on and
                       subsequent to the Petition Date reimbursable under the
                       Prepetition ABL Documents, (d) the Prepetition ABL
                       Obligations in accordance with the Budget, and (e)the
                       Prepetition ABL Obligations with the Deposit (as
                       defined in the Levin LOI) upon such Deposit becoming
                       non-refundable in accordance with the terms of the
                       Levin LOI. In addition, immediately upon the payment
                       in full in cash of the Prepetition ABL Obligations
                       (including principal, interest, fees, prepayment
                       premiums, expenses, indemnities, other than contingent
                       indemnification obligations for which no claim has
                       been asserted), the cash collateralization of all treasury
                       and cash management obligations, hedging obligations,
                       and bank product obligations, in each case, in
                       accordance with the terms of the Prepetition ABL
                       Documents, the Debtors shall fund to the Prepetition
                       ABL Agent, for the benefit of the Prepetition ABL
                       Parties, $500,000 into a non-interest bearing account
                       maintained at Wells Fargo Bank, National Association
                       (the “Prepetition ABL Indemnity Reserve”) to secure


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      Material Terms               Summary of Material Terms                        Para(s). of
                                                                                    Interim
                                                                                     Order
                       contingent indemnification, reimbursement, or similar
                       continuing obligations arising under or related to the
                       Prepetition ABL Documents (the “Prepetition ABL
                       Indemnity Obligations”). The Prepetition ABL
                       Indemnity Reserve shall secure all costs, expenses, and
                       other amounts (including reasonable and documented
                       attorneys’ fees) owed to or incurred by the Prepetition
                       ABL Agent and the Prepetition ABL Lenders related to
                       the Prepetition ABL Documents, the Prepetition ABL
                       Obligations, or the Prepetition ABL Liens, as
                       applicable, whether in these Cases or independently in
                       another forum, court, or venue. The Prepetition ABL
                       Indemnity Obligations shall be secured by a first
                       priority lien on the Prepetition ABL Indemnity Reserve
                       and the funds therein (which shall not be subject to the
                       Carve-Out) and by a lien on the Postpetition Collateral
                       and the Prepetition Collateral (subject in all respects to
                       the Intercreditor Agreement). Subject to paragraph 22
                       of the Interim Order, the Debtors shall pay all
                       Prepetition ABL Indemnity Obligations as and when
                       they arise and paid; provided, that the Prepetition ABL
                       Agent shall have authority in its sole discretion, but not
                       an obligation, to apply amounts in the Prepetition ABL
                       Indemnity Reserve to any Prepetition ABL Indemnity
                       Obligations, without further notice to or consent from
                       the Debtors, a Committee (if appointed), or any other
                       parties in interest and without further order of this
                       Court; provided, that (i) any such indemnification
                       claims shall be subject to (a) the terms of the
                       Prepetition ABL Documents (including with respect to
                       application of proceeds) and (b) the rights of parties in
                       interest with requisite standing to object to such
                       indemnification claim(s) to the extent set forth in
                       paragraph 27 of the Interim Order. The Prepetition
                       ABL Agent (for itself and on behalf of the Prepetition
                       ABL Parties) shall retain and maintain the Prepetition
                       ABL Liens and the Prepetition ABL Adequate
                       Protection Liens granted to the Prepetition ABL Agent
                       as security for the amount of any Prepetition ABL
                       Indemnity Obligations in excess of the funds on deposit
                       in the Prepetition ABL Indemnity Reserve. The
                       Prepetition ABL Indemnity Reserve shall be released at
                       such time as the Prepetition ABL Indemnity


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      Material Terms                Summary of Material Terms                     Para(s). of
                                                                                  Interim
                                                                                   Order
                        Obligations are Paid in Full.
                                                                                     ¶8
                        Adequate Protection Payments and Protections for
                        Prepetition Term Loan Agent. As further adequate
                        protection, the Debtors are authorized and directed to
                        pay in cash the following: (a) the reasonable and
                        documented fees, out-of-pocket fees and expenses, and
                        disbursements (including the reasonable and
                        documented fees, out-of-pocket fees and expenses, and
                        disbursements of counsel, financial advisors, auditors,
                        third-party consultants, and other vendors) incurred by
                        the Prepetition Term Loan Agent arising prior to the
                        Petition Date and reimbursable under the Prepetition
                        Term Loan Documents, and (b) in accordance with
                        paragraph 22 of the Interim Order, the reasonable and
                        documented fees, out-of-pocket fees and expenses, and
                        disbursements (including the reasonable and
                        documented fees, out-of-pocket fees and expenses, and
                        disbursements of counsel, financial advisors, auditors,
                        third-party consultants, and other vendors) incurred by
                        the Prepetition Term Loan Agent on and subsequent to
                        the Petition Date reimbursable under the Prepetition
                        Term Loan Documents; provided, however, that any
                        payments made under this paragraph 8 shall be made
                        solely from proceeds of Postpetition Term Priority
                        Collateral.

   Liens on             Subject to the entry of the Final Order, the Adequate     ¶ 3(a)-(b)
   Chapter 5            Protection Liens include the proceeds of any
   Actions              avoidance actions brought pursuant to Chapter 5 of the
                        Bankruptcy Code or applicable state law equivalents.
   Local Rule 4001-
   2(a)(i)(D)




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      Material Terms                Summary of Material Terms                       Para(s). of
                                                                                    Interim
                                                                                     Order
   Carve Out            The “Carve Out” means (i) all fees required to be paid to     ¶ 24
                        (A) the Clerk of the Court and (B) the Office of the
   Local Rule 4001-     United States Trustee under section 1930(a) of title 28
   2(a)(i)(F)           of the United States Code; (ii) all reasonable fees and
                        expenses up to $50,000 (and any interest thereon)
                        incurred by a trustee under section 726(b) of the
                        Bankruptcy Code (the “Chapter 7 Trustee Carve Out”);
                        (iii) to the extent allowed at any time (regardless of
                        whether allowed by the Court prior to or after delivery
                        of a Carve Out Trigger Notice (as defined below)),
                        whether by interim order, procedural order, or
                        otherwise, all accrued and unpaid fees and expenses
                        incurred by persons or firms retained by the Debtors
                        pursuant to sections 327, 328 or 363 of the Bankruptcy
                        Code (the “Debtor Professionals”) and a Committee (if
                        appointed) pursuant to sections 328 or 1103 of the
                        Bankruptcy Code (the “Committee Professionals” and,
                        together with the Debtor Professionals, the “Professional
                        Persons”) (such fees and expenses, the “Allowed
                        Professional Fees”) at any time on or prior to the first
                        business day following delivery by the Prepetition ABL
                        Agent of a Carve Out Trigger Notice (as defined in the
                        Interim Order), provided that the amount of such
                        Allowed Professional Fees shall, as relates to the
                        Prepetition ABL Parties, the Prepetition ABL Priority
                        Collateral and the Postpetition ABL Priority Collateral,
                        not exceed, at any time, the amount set forth for
                        Allowed Professional Fees in the Budget at such time
                        (the “ABL Professional Fee Cap”); and (iv) Allowed
                        Professional Fees of Professional Persons in an
                        aggregate amount not to exceed $[500,000] incurred
                        after the first business day following delivery by the
                        Prepetition ABL Agent of the Carve Out Trigger Notice,
                        to the extent allowed at any time, whether by interim
                        order, procedural order or otherwise (the amounts set
                        forth in this clause (iv) being the “Post Carve Out
                        Trigger Notice Cap”). For purposes of the foregoing,
                        “Carve Out Trigger Notice” shall mean a written notice
                        delivered by email (or other electronic means) by the
                        Prepetition ABL Agent to lead restructuring counsel for
                        the Debtors, the U.S. Trustee, and lead counsel to a
                        Committee (if appointed), which notice may be
                        delivered following the occurrence and during the


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      Material Terms                  Summary of Material Terms                       Para(s). of
                                                                                      Interim
                                                                                       Order
                          continuation of an Event of Default (as defined above),
                          stating that the Post-Carve Out Trigger Notice Cap has
                          been invoked. Each Professional Person shall deliver
                          bi-weekly (on Thursday of each such week, beginning
                          on the second Thursday following the Petition Date) to
                          the Debtors (and the Debtors shall cause the same to be
                          delivered to the Prepetition Agents on the same day
                          received by the Debtors) a statement setting forth a
                          good-faith estimate of the amount of fees and expenses
                          incurred during the preceding week by such Professional
                          Persons (through Saturday of such week).

   Cross                  None, other than replacement liens as adequate                N/A
   Collateralization      protection.

   Local Rule 4001-
   2(a)(i)(A)

   Findings               As set forth in the Interim Order, the Debtors have         ¶¶ F, 27
   Regarding              acknowledged and agreed as set forth therein, to the
   Validity/              validity, perfection, priority, amount and
   Perfection/            enforceability of the Prepetition Secured Obligations,
   Amount                 without prejudice to any other party’s rights to assert
                          claims, counterclaims or causes of actions, objections,
   Local Rule 4001-       contests or defenses prior to the expiration of the
   2(a)(i)(B)             Challenge Period (as defined below).

   Challenge Period       The “Challenge Period” is (A) for a Committee (if             ¶ 27
                          appointed), sixty (60) days from the date of formation of
   Local Rule 4001-       the Committee (if appointed), or (B) seventy-five (75)
   2(a)(i)(B)             days following the entry of the Interim Order for any
                          other party in interest with requisite standing (the
                          occurrence of (A) and (B), as applicable, the “Challenge
                          Deadline”), as such applicable date may be extended in
                          writing from time to time in the sole discretion of the
                          Prepetition ABL Agent (with respect to the Prepetition
                          ABL Documents) and the Prepetition Term Loan Agent
                          (with respect to the Prepetition Term Loan Documents),
                          or by this Court for good cause shown pursuant to an
                          application filed by a party in interest prior to the
                          expiration of the Challenge Deadline.




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      Material Terms                  Summary of Material Terms                        Para(s). of
                                                                                       Interim
                                                                                        Order
   506(c) Waiver         Subject to entry of the Final Order, no costs or                ¶ 29
                         expenses of administration which have been or may be
   Local Rule 4001-      incurred in the cases at any time shall be charged
   2(a)(i)(C)            against the Prepetition Secured Parties or any of their
                         respective claims, the Postpetition Collateral, or the
                         Prepetition Collateral pursuant to sections 105 or
                         506(c) of the Bankruptcy Code, or otherwise, without
                         the prior written consent of the Prepetition Secured
                         Parties, as applicable, and no such consent shall be
                         implied from any other action, inaction, or
                         acquiescence by any such parties.
   552(b) Wavier         Subject to entry of the Final Order, the Prepetition            ¶ 31
                         Secured Parties shall each be entitled to all of the rights
   Local Rule            and benefits of section 552(b) of the Bankruptcy Code,
   4001-                 and the “equities of the case” exception under section
   2(a)(i)(H)            552(b) of the Bankruptcy Code shall not apply to the
                         Prepetition Secured Parties, with respect to proceeds,
                         product, offspring or profits of any of the Prepetition
                         Collateral.

   Releases              The Debtors stipulate and agree that they forever and          ¶ F(x)
                         irrevocably release, discharge, and acquit the
   Local Rule            Prepetition Agents, the Prepetition Secured Parties, all
   4001-                 former, current and future Prepetition Secured Parties,
   2(a)(ii)              and each of their respective successors, assigns,
                         affiliates, subsidiaries, parents, officers, shareholders,
                         directors, employees, attorneys and agents, past,
                         present and future, and their respective heirs,
                         predecessors, successors and assigns (collectively, the
                         “Releasees”) of and from any and all claims,
                         controversies, disputes, liabilities, obligations,
                         demands, damages, expenses (including reasonable
                         attorneys’ fees), debts, liens, actions and causes of
                         action of any and every nature whatsoever relating to,
                         as applicable, the Prepetition Secured Facilities, the
                         Prepetition Documents, and/or the transactions
                         contemplated under the Interim Order or thereunder
                         occurring prior to the entry of the Interim Order
                         including (x) any so-called “lender liability” or
                         equitable subordination or recharacterization claims or
                         defenses, (y) any and all claims and causes of action
                         arising under the Bankruptcy Code, and (z) any and all
                         claims and causes of action with respect to the validity,

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        Material Terms                             Summary of Material Terms                                   Para(s). of
                                                                                                               Interim
                                                                                                                Order
                                   priority, perfection or avoidability of the liens or claims
                                   of the Prepetition Agents and the Prepetition Secured
                                   Parties. The Debtors further waive and release any
                                   defense, right of counterclaim, right of set-off or
                                   deduction to the payment of the Prepetition Secured
                                   Obligations which the Debtors may now have or may
                                   claim to have against the Releasees, arising out of,
                                   connected with or relating to any and all acts,
                                   omissions or events occurring prior to this Court
                                   entering the Interim Order.

     Provisions                    None.                                                                          N/A
     Deeming
     Prepetition Debt
     to be Postpetition
     Debt

     Local Rule 4001-
     2(a)(i)(E)

     Non-Consensual                None.                                                                          N/A
     Priming

     Local Rule 4001-
     2(a)(i)(G)


                                                    Basis for Relief

I.            The Debtors’ Request to Use Cash Collateral and Proposed Adequate Protection
              are Appropriate

           10.      The Debtors’ use of property of their estates, including Cash Collateral, is governed

by section 363 of the Bankruptcy Code.4 Pursuant to section 363(c)(2) of the Bankruptcy Code, a



4
    The Bankruptcy Code defines “cash collateral” as follows:

      Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash equivalents whenever
      acquired in which the estate and an entity other than the estate have an interest and includes the proceeds, products,
      offspring rents, or profits of property and the fees, charges, accounts or other payments for the use or occupancy
      of rooms and other public facilities in hotels, motels, or other lodging properties subject to a security interest as

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debtor may use cash collateral as long as “(A) each entity that has an interest in such cash collateral

consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2).

         11.     Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

in property when a debtor uses cash collateral. 11 U.S.C. § 363(e). Further, section 362(d)(1) of

the Bankruptcy Code provides for adequate protection of interests in property due to the imposition

of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996). While section

361 of the Bankruptcy Code provides examples of forms of adequate protection, such as granting

replacement liens and administrative claims, courts decide what constitutes sufficient adequate

protection on a case-by-case basis. Resolution Trust Corp. v. Swedeland Dev. Grp., Inc. (In re

Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir. 1994) (“[A] determination of whether there

is adequate protection is made on a case by case basis.”); In re Satcon Tech. Corp., No. 12-12869,

2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012); see also In re Dynaco Corp., 162 B.R.

389, 394 (Bankr. D.N.H. 1993) (citing 2 COLLIER ON BANKRUPTCY ¶ 361.01 [1] at 361-66

(15th ed. 1993) (explaining that adequate protection can take many forms and “must be determined

based upon equitable considerations arising from the particular facts of each proceeding”); In re

Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[T]he determination of adequate protection

is a fact-specific inquiry left to the vagaries of each case . . . ”) (citation and quotation omitted).

         12.     The concept of adequate protection is designed to shield a secured creditor from

diminution in the value of its interest in collateral during the period of a debtor’s use. See In re



    provided in section 552(b) of this title, whether existing before or after the commencement of a case under this
    title.

11 U.S.C. § 363(a).


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Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured

party’s interest is protected from diminution or decrease as a result of the proposed use of cash

collateral.”); see also In re Cont’l Airlines, Inc., 154 B.R. 176, 180-81 (Bankr. D. Del. 1993)

(holding that adequate protection for use of collateral under section 363 of the Bankruptcy Code

is limited to use-based decline in value).

         A.    The Proposed Adequate Protection for the Prepetition Secured Parties is
               Sufficient

         13.   As set forth in the Interim Order and described above in the Highlighted Provisions,

the Debtors propose to provide the Prepetition Secured Parties with various forms of Adequate

Protection. The Debtors respectfully submit that, in light of the circumstances of these chapter 11

cases, the proposed Adequate Protection is appropriate and sufficient to protect the Prepetition

Secured Parties from any diminution in value to the Collateral during the Specified Period. In

particular, the Cash Collateral will be used to sustain the Debtors’ business operations, allowing

for the maximization of the value of the Debtors’ estates, specifically the arms’ length negotiated

terms to protect the Debtors’ customer programs. If Cash Collateral is not available for this

purpose, the Debtors will be unable to fund payroll obligations, procure goods and services from

vendors or otherwise maintain their operations and service their customers, thereby dissipating

value to the detriment of the Prepetition Secured Parties and other stakeholders. The use of the

Cash Collateral will therefore protect the Prepetition Secured Parties’ security interests by

preserving the value of their collateral. See In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 631

(Bankr. S.D.N.Y. 1992) (evaluating “whether the value of the debtor’s property will increase as a

result of the” use of collateral in determining sufficiency of adequate protection); In re Salem Plaza

Assocs., 135 B.R. 753, 758 (Bankr. S.D.N.Y. 1992) (holding that a debtor’s use of cash collateral

to pay operating expenses, thereby “preserv[ing] the base that generates the income stream,”

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provided adequate protection to the secured creditor); In re Constable Plaza Assocs., L.P., 125

B.R. 98, 105 (Bankr. S.D.N.Y. 1991) (observing that debtor’s use of rents to maintain and operate

property “will serve to preserve or enhance the value of the building which, in turn, will protect

the collateral covered by [the secured lender’s] mortgage”).

         14.    In light of the foregoing, the Debtors submit that the proposed Adequate Protection

to be provided for the benefit of the Prepetition Secured Parties is appropriate. Thus, the Debtors’

proposed Adequate Protection not only is necessary to protect the Prepetition Secured Parties

against any diminution in value, but also is fair and appropriate on an interim basis under the

circumstances of these chapter 11 cases to ensure the Debtors are able to continue using Cash

Collateral in the near term, for the benefit of their estates and all parties in interest.

II.      Failure to Obtain Immediate Interim Use of Cash Collateral Would Cause
         Immediate and Irreparable Harm

         15.    Bankruptcy Rule 4001(b)(2) provides that a final hearing on a motion to use cash

collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than

fourteen (14) days after the service of such motion. Fed. R. Bankr. P. 4001(b)(2). However, the

Court is authorized to conduct a preliminary expedited hearing on the Motion and authorize the

Debtors’ proposed use of Cash Collateral to the extent necessary to avoid immediate and

irreparable harm to the Debtors’ estates. Id.

         16.    The Debtors has an immediate postpetition need to use Cash Collateral. The

Debtors cannot maintain the value of their estates during the pendency of these chapter 11 cases

without access to cash. The Debtors will use cash to, among other things, continue operating their

business and satisfy other working capital needs during the chapter 11 cases, including, among

other things, to fund their customer programs. The Debtors believe that all or substantially all of

their available cash constitutes the Prepetition Secured Parties’ Cash Collateral, as that term is

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used by section 363(c) of the Bankruptcy Code. The Debtors therefore will be unable to proceed

with operating their business without the ability to use Cash Collateral, and will suffer immediate

and irreparable harm to the detriment of all creditors and other parties in interest. In short, the

Debtors’ ability to finance their operations and the availability of sufficient working capital and

liquidity to the Debtors through the use of Cash Collateral is vital to the preservation and

maintenance of the value of the Debtors’ estates.

         17.   The Debtors, therefore, seek immediate authority to use the Cash Collateral on an

interim basis and as set forth in this Motion and in the Interim Order to prevent immediate and

irreparable harm to their estates pending the Final Hearing pursuant to Bankruptcy Ru1e

400l(b)(2). Accordingly, to the extent that the Debtors require the use of Cash Collateral, the

Debtors respectfully submit that they have satisfied the requirements of Bankruptcy Rule

4001(b)(2) to support an expedited preliminary hearing and immediate Cash Collateral availability

on an interim basis.

III.     Modification of the Automatic Stay is Appropriate

         18.   The Interim Order and Final Order (together, the “Cash Collateral Orders”)

contemplate a modification of the automatic stay (to the extent applicable) as necessary to, inter

alia, permit the Debtors to: (a) grant the security interests, liens and superpriority claims described

above, and to perform such acts as may be requested to assure the perfection and priority of such

security interests and liens; and (b) authorize the Debtors to make certain payments in accordance

with the terms of the Cash Collateral Orders. In addition, the Cash Collateral Orders provide for

modification of the automatic stay to allow the Prepetition Secured Partiers to exercise remedies

upon the occurrence and during the continuance of an Event of Default, and after the giving of five

(5) business days’ prior written notice to the Debtors.


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         19.   Stay modification provisions of this kind are ordinary and standard terms of

postpetition use by debtors-in-possession of prepetition collateral, and, in the Debtors’ business

judgment, are reasonable under the present circumstances. See, e.g., In re Open Road Films, LLC,

Case No. 18-12012 (LSS) [Docket No. 51] (Bankr. D. Del. September 7, 2018) (terminating

automatic stay after occurrence of termination event and applicable notice); In re RM Holdco LLC,

Case No. 18-11795 (MFW) [Docket No. 53] (Bankr. D. Del. August 7, 2018) (same); In re

Heritage Home Grp. LLC, Case No. 18-11736 (KG) [Docket No. 46] (Bankr. D. Del. July 31,

2018) (same); In re EBH Topco, LLC, Case No. 18-11212 (BLS) [Docket No. 55] (Bankr. D. Del.

May 24, 2018) (same); In re Gibson Brands, Inc., Case No. 18-11025 (CSS) [Docket No. 71]

(Bankr. D. Del. May 2, 2018) (same); In re Appvion, Inc., Case No. 17-12082 (KJC) [Docket No.

75] (Bankr. D. Del. October 5, 2017). Accordingly, the Debtors respectfully request that the Court

authorize the modification of the automatic stay in accordance with the terms set forth in the Cash

Collateral Orders.

                                    Request for Final Hearing

         20.   Pursuant to Bankruptcy Rule 400l(b)(2), the Debtors request that the Court set a

date for the Final Hearing within thirty-five (35) days of the Petition Date and fix the date and time

prior to the Final Hearing for parties to file objections to the relief requested by this Motion.

                 The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

         24.   Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate

and irreparable harm.” Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the

Debtors to use Cash Collateral and granting the other relief requested herein is integral to the

Debtors’ ability to transition their operations into these chapter 11 cases smoothly. Failure to

receive such authorization and other relief during the first 21 days of these chapter 11 cases would

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severely disrupt the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit

that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003

to support granting the relief requested herein.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

         25.   To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                       Reservation of Rights

         26.   Nothing contained in this Motion or any actions taken by the Debtors pursuant to

any order granting the relief requested by this Motion is intended or should be construed as: (a)

an admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

(b) a waiver of the Debtors’ right to dispute any particular claim on any grounds; (c) a promise or

requirement to pay any particular claim; (d) an implication or admission that any particular claim

is of a type specified or defined in this Motion or any order granting the relief requested by this

Motion; (e) a request or authorization to assume any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights under the

Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any other

party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Motion are valid and the Debtors and all other parties-in-interest expressly reserve

their rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens. If

the Court grants the relief sought herein, any payment made pursuant to the Court’s Interim Order

and Final Order is not intended and should not be construed as an admission as to the validity,



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priority, or amount of any particular claim or a waiver of the Debtors’ or any other party-in-

interest’s rights to subsequently dispute such claim.

                                                Notice

         27.   Notice of the hearing on the relief requested in this Motion will be provided by the

Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

Bankruptcy Local Rules, and is sufficient under the circumstances.              Without limiting the

foregoing, due notice will be afforded, whether by facsimile, electronic mail, overnight courier or

hand delivery, to parties-in-interest, including: (a) the Office of the U.S. Trustee for the District

of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors (on a

consolidated basis); (c) the agents under the Debtors’ prepetition secured facilities and counsel

thereto; (d) the United States Attorney’s Office for the District of Delaware; (e) the Internal

Revenue Service; (f) the state attorneys general for states in which the Debtors conduct business;

and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

         28.   No prior motion for the relief requested herein has been made to this or any other

court.

                            [Remainder of page intentionally left blank.]




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         WHEREFORE, for the reasons set forth herein and in the First Day Declaration, and based

on the record of the Chapter 11 Case, the Debtors respectfully request that this Court (a) enter the

Cash Collateral Orders (i) authorizing the Debtors to use Cash Collateral on an interim and final

basis subject to the terms and conditions set forth therein; (ii) granting adequate protection to the

Prepetition Secured Parties to the extent set forth in the Cash Collateral Orders; (iii) scheduling

the Final Hearing, pursuant to the Interim Order, within approximately thirty-five (35) days of the

commencement of the chapter 11 cases, to consider approval of this Motion on a final basis; and

(iv) granting related relief; and (b) grant the Debtors such other and further relief as may be just

and proper.


Dated: March 8, 2020                          BENESCH, FRIEDLANDER, COPLAN &
Wilmington, Delaware                          ARONOFF LLP

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                                              Possession




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